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                  UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF NEW YORK


                          JUDGMENT IN A CIVIL CASE

Renalda Rouse
           Plaintiff(s)
      vs.                               CASE NUMBER: 3:20-cv-915 (TWD)

Kilolo Kijakazi
             Defendant(s)


Decision by Court. This action came to trial or hearing before the Court. The issues
have been tried or heard and a decision has been rendered.

IT IS ORDERED AND ADJUDGED: that Plaintiff’s motion for judgment on the pleadings
(Dkt. No. 13) is DENIED; and it is further ORDERED that Defendants motion for
judgment on the pleadings (Dkt. No. 12) is GRANTED; and it is further ORDERED that
Defendants decision denying Plaintiff disability benefits is AFFIRMED, and it is further
ORDERED that Plaintiffs complaint (Dkt. No. 1) is DISMISSED.

All of the above pursuant to the order of the Honorable Judge Therese Wiley Dancks,
dated the 29 th day of September, 2021.


DATED: September 29, 2021




                                               s/Kathy Rogers
                                               Deputy Clerk
